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Attorney for Debtor


                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY

In re:
         Teresa White                               CASE NO.:      18-35106-CMG

                                                    CHAPTER:       7
                        Debtor(s)
                                                    HEARING DATE: 04/23/2019 10:00AM



                 OBJECTION TO TRUSTEE MOTION FOR DISMISSAL

         1.    I am the principal at the Law Offices of Ronaldo C. George, LLC and I am the

    Debtors Attorney in this case.

         2.    I make this statement in Objection to Order to Show Cause Why Debtors Case

    Should Not Be Dismissed for Failure to Make Installment Payments.

         3.    On December 26, 2018 the Debtor filed a Chapter 7 Bankruptcy under Case

    Number 18-35106-CMG.

         4.    The Debtors has a significant history of health issues and has been deemed to be

    permanently disabled.

         5.    Debtor’s first 341(a) meeting of creditors was to commence on January 23, 2019

    at this courthouse. However, Debtor was hospitalized at Robert Wood Johnson Hospital in
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   New Brunswick, New Jersey due to a severe respiratory infection. Debtor was hospitalized

   for over ten (10) days.

      6.      Debtor’s 341(a) meeting of creditors was then adjourned to February 20, 2019 at

   this courthouse. Debtor however was again hospitalized at Robert Wood Johnson Hospital in

   New Brunswick, New Jersey due to a reaction to her medication which caused severe pain in

   her stomach. Debtor was hospitalized for an additional seven (7) days.

      7.      Debtor’s 341(a) meeting of creditors was further adjourned to March 15, 2019 at

   this courthouse. While the debtor was not hospitalized, Debtor was extremely weak and was

   not physically able to make the short trip from Highland Park to Trenton.

      8.      As of the date of this opposition, Debtor’s health is now stable, and she believes

   that she will be able to attend a re-scheduled 341(a) meeting of creditors.

      9.      Debtor has significant creditors and it is vital that she be able to continue her

   Chapter 7 case to receive a discharge in this matter.

      10.     Given the above considerations, Debtor respectfully Objects to Trustee Motion to

   Dismiss.



Dated: April 21, 2019                                /s/ Ronaldo C. George
                                                     Ronaldo C. George, Esq.
                                                     Attorney for Debtors
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In re:
         Teresa White                                   CASE NO.:       18-35106-CMG

                                                        CHAPTER:        7
                          Debtor(s)
                                                        HEARING DATE: 04/23/2019 10:00AM




                                 CERTIFICATION OF SERVICE

         1.        I, Ronaldo C. George, Esquire, represent the Debtors in the above captioned

         matter.

         2.        On April 21, 2019, I sent a copy of the following pleadings and/or documents to

         the parties listed in the chart below:

                          (x) Objection to Trustee Motion to Dismiss.

         3.        I hereby certify under penalty of perjury that the above documents were sent

         using the mode of service indicated.



         Dated: April 21, 2019                                 /s/ Ronaldo C. George
                                                               Ronaldo C. George, Esq.
                                                               Attorney for Debt
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                                      SERVICE LIST


 Name and Address of Party          Relationship of         Mode of Service
 Served                             Party to Case
 John Michael McDonald              Trustee                 Notice of Electronic Filing
 Chapter 7 Trustee                                          (NEF)
 115 Maple Avenue
 Red Bank, NJ 07701

 Phelan Hallinan Diamond &          Creditor Attorney       Notice of Electronic Filing
 Jones                                                      (NEF)
 400 Fellowship Rd Ste 100
 Mount Laurel, NJ 08054-3437

 Seterus                            Creditor                Regular Mail
 PO Box 2008
 Grand Rapids, MI
 49501-2008


 Teresa White                       Debtor                  Regular Mail
 14 Redcliffe Avenue
 Highland Park, NJ 08904
 Big M Inc. T/A Annie Sez           Creditor                Regular Mail
 320 Park Ave
 Scotch Plains, NJ 07076-1100
 Chrysler Capital                   Creditor                Regular Mail
 PO Box 961275
 Fort Worth, TX 76161-0275
 Craner Satkin & Scheer             Creditor                Regular Mail
 320 Park Ave
 Scotch Plains, NJ 07076-1100
 Credit One Bank                    Creditor                Regular Mail
 PO Box 98875
 Las Vegas, NV 89193-8875
 Fein Such Kahn & Shepard           Creditor                Regular Mail
 7 Century Dr
 Parsippany, NJ 07054-4603
 Financial Recoveries               Creditor                Regular Mail
 200 E Park Dr Ste 200
 Mount Laurel, NJ 08054-1259
 Green & Green                      Creditor                Regular Mail
 838 Easton Ave
 Somerset, NJ 08873-1824
 New Century Financial Services     Creditor                Regular Mail
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 110 S Jefferson Rd Ste 104
 Whippany, NJ 07981-1038
 Newark Board of Education        Creditor                Regular Mail
 Employees
 195 Norman Rd
 Newark, NJ 07106-3309
 Oxford Realty Group              Creditor                Regular Mail
 100 Cedar Ln
 Highland Park, NJ 08904-2018
 Pressler & Pressler              Creditor                Regular Mail
 7 Entin Road
 Parsippany, NJ 07054-5020
 Savit Collection Agency          Creditor                Regular Mail
 46 W Ferris St
 East Brunswick, NJ 08816-2159
 Southwest Credit Systems         Creditor                Regular Mail
 4120 International Pkwy
 Carrollton, TX 75007-1957

 The Bureaus Inc                  Creditor                Regular Mail
 1717 Central St
 Evanston, IL 60201-1507
 Vanz LLC October 9 Series 01     Creditor                Regular Mail
 577 Hamburg Turnpike
 Wayne, NJ 07470-2042
 Verizon Wireless                 Creditor                Regular Mail
 PO Box 49
 Lakeland, FL 33802-0049
 Woodwest Realty Management       Creditor                Regular Mail
 100 Cedar Lane
 Highland Park, NJ 08904-2018
